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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ERIK KHAN,

              Plaintiff,

vs.                                                        No. CV 15-01151 MV/SMV

CHRIS BARELA, BOARD OF COUNTY COMMISSIONERS
OF DONA ANA COUNTY, ARAMARK CORPORATION,
CORIZON MEDICAL SERVICES, ELVA BRIGHT,
BILL STICKLES, JOHN DOE (BEAM),
JASON DURAN, and TAMMY RUSH,

              Defendants.

                           MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Plaintiff’s pro se Motion to Dismiss Action

Against David Beam and Bill Stickles [Doc. 130]. Neither Beam nor Stickles has filed a

response in opposition to the Motion. The Court finds that the Motion is well-taken and shall be

granted.

       IT IS THEREFORE ORDERED as follows:

       (1)    This action is dismissed with prejudice as against David Beam and Bill Stickles

pursuant to Rule 41(a) of the Federal Rules of Civil Procedure;

       (2)    Defendants David Beam and Bill Stickles’ Rule 12(b)(1) and Rule 12(b)(6)

Motion to Dismiss Plaintiff’s Third Amended Complaint [Doc. 112] is found as moot; and

       (3)    The Clerk of this Court shall terminate Beam and Stickles from this action.



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                                                    HONORABLE MARTHA VÁZQUEZ
                                                    UNITED STATES DISTRICT JUDGE
